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14                       UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
15                            SOUTHERN DIVISION
16   IN RE ALLERGAN, INC. PROXY               Case No. 8:14-CV-02004-DOC-KESX
     VIOLATION SECURITIES
17   LITIGATION                               CLASS ACTION
18                                            PLAINTIFFS’ SUBMISSION
                                              CONCERNING SECTION 20A
19                                            DAMAGES CAP
20                                            Judge:     Hon. David O. Carter
21
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 1         State Teachers Retirement System of Ohio, Iowa Public Employees Retirement
 2   System, and Patrick T. Johnson (together, “Plaintiffs”), respectfully provide this
 3   submission in response to the Court’s December 15, 2017 request for additional
 4   briefing on the Section 20A damages cap (ECF No. 577).
 5   I.    INTRODUCTION
 6         There is no Ninth Circuit authority interpreting exactly how to apply Section
 7   20A’s profits cap. See 15 U.S.C. § 78t-1(b)(1). Plaintiffs have previously advanced
 8   the view that Defendants’ “profits” are tied to the date that the relevant material,
 9   nonpublic information (“MNPI”) conveyed by Valeant to Pershing was fully revealed
10   to the market. In its [Tentative] Order Denying Defendants’ Motions for Summary
11   Judgment [394] [395] and Granting in Part Plaintiff’s Motion for Partial Summary
12   Judgment [401] (“Tentative Opinion”) at pp. 47-49, the Court expressed the view that
13   the cap encompasses all of Defendants’ profits from the trades at issue, regardless of
14   the date that the MNPI was revealed to the market. During the summary judgment
15   hearing, Plaintiffs and Timber Hill stipulated to take the position expressed in the
16   Court’s Tentative Opinion. This approach is supported by the plain language of the
17   statute, principles of statutory construction, the statute’s legislative history, and general
18   principles of equity and fairness.
19         UNDER SECTION 20A, DAMAGES MAY NOT EXCEED
     II.
20         DEFENDANTS’ TOTAL PROFITS FROM THEIR ALLERGAN
           STOCK TRADES
21
           In the Tentative Opinion, the Court expressed the straightforward view that
22
     “profit gained” means exactly that: how much profit did Defendants make on their
23
     challenged trades in Allergan stock? The answer is a matter of simple arithmetic:
24
     subtract the price PS Fund 1 paid for each share of common stock during the class
25
     period from the price at which it sold those shares, after the Actavis-Allergan merger
26
     closed in 2015. Such calculation of profits does not rest on any determination of when
27
     the MNPI was fully revealed to the market.
28

     PLAINTIFFS’ SUBMISSION CONCERNING SECTION 20A DAMAGES CAP                              -1-
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 1          This methodology is supported by a plain reading of the statute. Section 20A
 2   states that the “total amount of damages imposed . . . shall not exceed the profit gained
 3   or loss avoided in the transaction or transactions that are the subject of the violation.”
 4   15 U.S.C. § 78t-1(b)(1).1 If Section 20A intended to cap a defendant’s profit at the
 5   date at which the MNPI was fully revealed to the market, Congress could easily have
 6   capped damages at “the profit gained or loss avoided as a result of the violation.” By
 7   instead capping damages at “the profit gained or loss avoided in the transaction or
 8   transactions that are the subject of the violation,” it would appear that the framers of
 9   Section 20A intended a tippee to be liable for more than just the profits as of the date
10   the MNPI was revealed. Instead, the statute appears to contemplate that a tippee would
11   be liable for the total profits that it may ultimately realize “in the transaction” (i.e., the
12   trading).
13          An analysis of the broader context of the statute lends further support to this
14   plain reading. Section 20A was enacted in 1988 as the fifth of nine “Sections” of the
15   Insider Trading and Securities Fraud Enforcement Act of 1988 (“ITSFEA”). Pub. L.
16   No. 100-704, 102 Stat. 4677, 1988 H.R. 5133 at Sec. 5 (15 U.S.C. § 78t-1). A separate
17   section of ITSFEA (Section 3) amended existing law regarding “Civil Penalties” for
18   insider traders and persons who controlled them, allowing the SEC to seek “civil
19   penalties” of “three times the amount of the profit gained or loss avoided as a result of
20   such controlled person’s violation.” Id. at Sec. 3; 15 U.S.C. § 78u-1(a)(3); id. at (a)(2)
21   (“The amount of the penalty which may be imposed on the person who committed such
22   violation . . . shall not exceed three times the profit gained or loss avoided as a result
23   of such unlawful purchase, sale, or communication.”). In addition to using narrower
24   language to describe the “profit” at issue, Section 3 also specifically defined “profit
25   gained” and “loss avoided” as follows: “For purposes of this section, ‘profit gained’
26   or ‘loss avoided’ is the difference between the purchase or sale price of the security
27
28   1
            Unless stated otherwise emphasis is added and citations are omitted.
     PLAINTIFFS’ SUBMISSION CONCERNING SECTION 20A DAMAGES CAP                               -2-
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 1   and the value of that security as measured by the trading price of the security a
 2   reasonable period after public dissemination of the nonpublic information.” Id. at (e).
 3         Section 20A’s damages cap for private actions, on the other hand, contains no
 4   such definition requiring that “profit gained” be measured at the time of the public
 5   dissemination of the MNPI. 15 U.S.C. § 78t-1(b)(1). Congress’s decision not to
 6   include the narrower definition is consistent with the broader language that it chose to
 7   incorporate in Section 20A, which does not limit “profit gained” to those “as a result
 8   of the violation,” but rather allows recovery of all of the insider trader’s profit gained
 9   “in the transaction or transactions” at issue. Id.
10         It is a basic canon of statutory interpretation that “[where] Congress includes
11   particular language in one section of a statute but omits it in another section of the same
12   Act, it is generally presumed that Congress acts intentionally and purposely in the
13   disparate inclusion or exclusion.” Immigration and Naturalization Serv. v. Cardoza-
14   Fonseca, 480 U.S. 421, 432 (1987). 2 This rule applies with particular force here,
15   where, in enacting ITSFEA, Congress explicitly limited the definition to Section 3 of
16   the Act, specifying that it is solely “[f]or purposes of this section.” 15 U.S.C. § 78u-
17   1(e). Had Congress intended that definition to apply to Section 20A, it would have
18   either included the definition in Section 20A itself or specified that Section 3’s
19   definition applied to the “Act,” not the “section.”
20         Congress’s decision to include a broader recovery of profits for injured investors
21   in “private actions” for insider trading is also consistent with the concerns expressed
22   by the Bill’s sponsor during hearings on the draft legislation. The initial draft of
23   Section 20A did not contain any damages “cap” at all. See Hearing on H.R. 4945
24   Before the Subcommittee on Telecomms. and Fin. of the Committee on Energy and
25
     2
26          See id. (“[T]he same Congress simultaneously drafted § 208(a) and amended §
     243(h). In doing so, Congress chose to maintain the old standard in § 243(h), but to
27   incorporate a different standard in § 208(a)…. The contrast between the language used
     in the two standards, and the fact that Congress used a new standard to define the term
28   ‘refugee,’ certainly indicate that Congress intended the two standards to differ.”).

     PLAINTIFFS’ SUBMISSION CONCERNING SECTION 20A DAMAGES CAP                            -3-
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 1   Commerce, 100th Cong. 98 (1988) (“Subcommittee Hearing”), at 13-16 (June 16, 1988
 2   Committee Draft did not include cap on damages).               During a July 11, 1988
 3   Subcommittee Hearing, David Ruder, then Chairman of the SEC, proposed that
 4   Congress add a cap limiting an insider trading defendant’s liability in a private action
 5   to “the amount of profit gained or loss avoided as a result of the violation.” Id. at 41.3
 6   In the discussion that followed, the Bill’s sponsor, Representative Edward Markey,
 7   expressed concern that the proposed damages cap would protect insider traders at the
 8   expense of innocent investors:
 9         there have been some suggestions for amendments to the committee
           print which would prevent the plaintiff from receiving any damages
10         greater than the profit gained or loss avoided by the defendant, and
           would reduce that even further by any amount of disgorgement of
11         penalty paid to the government. Can you reconcile that limitation on
           damages with the ability of the plaintiffs to recover damages actually
12         suffered?
13         Id. at 97-98.
14         In response, U.S. Attorney Rudy Giuliani replied that it was “a question of which
15   side you are going to protect more . . . From my point of view, it would make more
16   sense to bend over backwards to protect the victim rather than the alleged or ultimately
17   proven wrongdoer.” Id. at 98. Ironically, the SEC, on the other hand, “came down on
18   the side of the defendant insider traders.” Id. Rep. Markey disagreed, stating, “I would
19   tell you, Mr. Chairman, that I am honestly a little bit more sympathetic with Mr.
20   Giuliani’s perspective on this and how we should tilt it. There is a certain Draconian
21   lack of remedy that many plaintiffs have in these cases, and in striking the balance, I
22   would personally tilt it more towards ensuring that the plaintiff was more able to
23   recover . . .” Id. at 99. Rep. Markey noted, however, that he would “work with [SEC
24
     3
25          Chairman Ruder’s proposed amendment was based on the Second Circuit’s
     seminal opinion in Elkind v. Liggett & Myers, Inc., 635 F.2d 156, 172 (2d Cir. 1980),
26   which capped insider trading damages at the profit gained “as a result of his trading on
     the inside information rather than on an equal basis.” Id.; Subcommittee Hearing at 41
27   n.26. As set forth herein, Congress premised Section 20A’s damages cap on Elkind,
     but enacted a statute that provided further protection for investors by allowing recovery
28   of all of the insider trader’s profits gained “in the transaction or transactions” at issue
     rather than limiting damages to profits gained “as a result of the violation.”
     PLAINTIFFS’ SUBMISSION CONCERNING SECTION 20A DAMAGES CAP                            -4-
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 1   Chairman Ruder] and Mr. Giuliani in drafting some legislation which can strike a
 2   balance.” Id.
 3         Ultimately, Congress struck that balance by allowing recovery of all of the
 4   insider trader’s profits gained “in the transaction or transactions” at issue. 15 U.S.C. §
 5   78t-1(b)(1). Congress did not, however, limit profits to those gained “as a result of the
 6   violation.” Nor did Congress choose to tie those profits to the stock price after public
 7   dissemination of the nonpublic information, as it had explicitly done in other sections
 8   of the same Act. 15 U.S.C. § 78u-1(e). Particularly given the concerns raised at the
 9   Subcommittee Hearings that the statute should “tilt . . . more towards ensuring that the
10   plaintiff was more able to recover,” the Court should reject Defendants’ attempt to read
11   a limitation into 20A’s damages cap that Congress chose not to include. Subcommittee
12   Hearing at 99.
13         The Ninth Circuit has never interpreted how to calculate the Section 20A
14   damages cap, and the out-of-Circuit court cases that have did not conduct the statutory
15   analysis discussed above. For instance, at the hearing, Defendants cited Short v.
16   Belleville Shoe Mfg. Co., 908 F.2d 1385, 1392 (7th Cir. 1990), for the proposition that
17   the Section 20A damages cap is measured by reference to the stock price when the
18   material nonpublic information is disclosed. Short, however, discussed the Section
19   20A damages cap in dicta in resolving a dispute over the proper statute of limitations
20   to apply in Section 10(b) actions, and provided no meaningful analysis of the proper
21   interpretation of the cap. Indeed, the cases that Short cited for that proposition all
22   predated Section 20A and involved the measure of actual damages, rather than the
23   profits cap.4 The other out-of-Circuit opinion that Defendants relied on at the summary
24
     4
25          Likewise, many of Defendants’ authorities predate Section 20A and concern the
     measure of actual damages in an insider trading action, not the calculation of the
26   damages cap. As the Court correctly noted in its Tentative Opinion, the calculation of
     actual damages is a different issue than the determination of the statutory damages cap.
27   Plaintiffs can only recover actual damages that were “actually caused by Pershing
     having traded without disclosing their material nonpublic information . . .” Tentative
28   Opinion at p. 48. But “[t]he statutory damages cap is not identical to the loss causation
     requirement—otherwise it would be superfluous . . .” Id.
     PLAINTIFFS’ SUBMISSION CONCERNING SECTION 20A DAMAGES CAP                           -5-
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 1   judgment hearing, meanwhile, based its holding largely on the conclusory statement in
 2   Short. See In re MicroStrategy, Inc. Sec. Litig., 115 F. Supp. 2d 620, 664-65 (E.D. Va.
 3   2000). Basile v. Valeant Pharm. Int’l, Inc., 2016 WL 5922716, at *8 n.7 (C.D. Cal.
 4   Aug. 5, 2016) (Carter, J.) (“The court [in JDS Uniphase] provided no explanation for
 5   that conclusion. Because the JDS decision provided no meaningful analysis on this
 6   issue, the Court is not persuaded by it.”).
 7         The courts in those cases were not faced with the situation presented to the Court
 8   here—where limiting profits to those made as of the date of disclosure would result in
 9   a situation where the insider trader, even if found liable and full damages are awarded
10   at trial, would still pocket half a billion dollars in profits from its challenged trades.
11   Such an outcome could not have been the intent of Congress, which enacted Section
12   20A to codify a remedy for investors harmed by insider trading but enacted a damages
13   cap in order to protect defendants from exposure to “excessive” liability. Clearly,
14   permitting an insider trading to keep a half billion dollars in profits—even if full
15   damages are awarded at trial—would run contrary to that intent. Simply put, Section
16   20A should not be construed to invite the very behavior that it was meant to discourage.
17         Finally, Defendants are wrong to argue that calculating the profits cap based on
18   Defendants’ total profits (which include gains realized when Pershing sold its Allergan
19   shares) results in a “windfall” to Plaintiffs. In fact, the opposite is true. As set forth
20   below, even if the cap is set at Defendants’ full profits, investors who sold while
21   Pershing was secretly buying will only receive a fraction of their damages. Moreover,
22   the uncontroverted evidence here establishes that Defendants’ total profits are in fact
23   entirely related to the actual damages resulting from Defendants’ misconduct.
24   Pershing and Valeant specifically contemplated that a “white knight” bidder such as
25   Actavis might emerge as the highest bidder for Allergan, and specifically contracted
26
27
28

     PLAINTIFFS’ SUBMISSION CONCERNING SECTION 20A DAMAGES CAP                           -6-
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 1   for how profits in such a third-party sale would be allocated between them. 5
 2   Defendants should not be allowed to bar class members from recovering the extra half-
 3   billion dollars in “profit” Defendants realized on their transactions between November
 4   17, 2014 and April of 2015 when their own written agreement anticipated that they
 5   would in fact realize profits from the sale of these shares to a third party.
 6   III.   PLAINTIFFS AGREE THAT THE 20A TRADING CAP SHOULD BE
            ALLOCATED BETWEEN THE COMMON STOCK AND
 7          DERIVATIVES CLASSES, PRO RATA, BASED ON THE DAMAGES
            IN EACH CASE
 8
            Plaintiffs will present argument on the allocation of damages at the Court’s
 9
     request.   For the Court’s convenience, Plaintiffs respectfully outline the three
10
     approaches advocated by each party. For purposes of illustration, Plaintiffs assume
11
     that: (1) the damages cap is $2.8 billion; (2) Timber Hill succeeds in certifying a class; 6
12
     (3) damages in the common stock case are $5 billion; and (4) damages in the derivative
13
     class are $500 million. 7
14
            Approach 1 (endorsed by Plaintiffs): Damages would be reduced pro rata
15
     between the two classes, as follows:
16
17          Class damages = X                    Derivatives damages = Y
18          $5 billion / $5.5 billion = X / $500 million / $5.5 billion = Y /
19          $2.8 billion                         $2.8 billion
20          X = $2.55 billion                    Y = $255 million
21
     5
22          See Ex. 1 (Relationship Agreement) at §3(a) (Valeant entitled to “an amount
     equal to 15%” of Pershing’s profits from a “Third Party Transaction Proposal” for
23   Allergan).
     6
            As Plaintiffs previously noted, Timber Hill only traded 122 of those 253 public
24   options, and realized a net gain on its Class Period trades of $3.55 million. See ECF
     No. 560-2. Timber Hill was also a “market maker,” meaning that it bought and sold
25   options to fill orders by other investors, making money regardless of whether the price
     of those options was inflated or deflated by the alleged fraud. For all of these reasons,
26   Timber Hill faces significant obstacles in establishing that it is an “adequate” or
     “typical” member of its proposed class under Fed. R. Civ. P. 23.
     7
27          Plaintiffs have previously submitted evidence that derivative damages could not
     exceed $651.3 million. See ECF No. 560-2. If the class is limited to options that
28   Timber Hill actually traded, aggregate damages of an options class would be no more
     than $217.4 million. See id.
     PLAINTIFFS’ SUBMISSION CONCERNING SECTION 20A DAMAGES CAP                             -7-
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 1         Approach 2 (endorsed by Timber Hill and Defendants):            Common stock
 2   damages are limited to profits derived from Pershing’s direct purchases of common
 3   stock on February 25 and 26, 2014, as follows:
 4
            Defendants’ profits from direct Defendants’ profits from Class
 5
            Class Period purchases of common Period purchases of common
 6
            stock = approximately $75 million stock         through   Nomura    =
 7
                                                  approximately $2.7 billion
 8
            Common stock damages cap = $75 Derivatives damages cap = $2.7
 9
            million                               billion
10
           Approach 3 (alternative approach endorsed by Timber Hill): “cap-adjusted”
11
     damages are reduced pro rata between the two classes, as follows:
12
           Step 1: Common stock damages of $5 billion are reduced to $2.8 billion, per
13
     the cap.
14
           Step 2: Derivative damages of $500 million are not reduced, because they do
15
     not exceed the $2.8 billion profits cap.
16
           Step 3: Pro rata adjustment, as follows:
17
18          Class damages = X                   Derivative damages = y
19          $2.8 billion / $3.3 billion = X / $500 million / $3.3 billion = Y /
20          $2.8 billion                        $2.8 billion
21          X = $2.38 billion                   Y = $424 million
22          Plaintiffs reserve argument on why the third approach unfairly shifts class
23   damages from the common stock class to the putative derivative class. However, as
24   long as approach 2 is “off the table,” to borrow a phrase, 8 Plaintiffs are willing to
25   commence the trial without further clarity as to whether the Court would ultimately
26
     8
27          Plaintiffs note that the Court has already observed that this approach “seems to
     directly contradict or undermine the Court’s finding that Pershing ‘caused’ Nomura to
28   purchase Allergan common stock during the Basile class period and that Basile
     Plaintiffs and Defendants traded securities of the ‘same class.’” ECF No. 577 at 2.
     PLAINTIFFS’ SUBMISSION CONCERNING SECTION 20A DAMAGES CAP                        -8-
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 1   adopt approach 1 or approach 3, and would present such argument whenever the Court
 2   chooses to hear it.
 3   IV.   CONCLUSION
 4         For the foregoing reasons, Plaintiffs endorse a Section 20A profits cap
 5   methodology whereby damages are limited to the full amount of profits that
 6   Defendants actually made on “the transaction or transactions that are the subject of the
 7   violation.”
 8   DATED: December 21, 2017               Respectfully submitted,
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